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 6                        IN THE UNITED STATES DISTRICT COURT
 7                                 FOR THE DISTRICT OF ARIZONA
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 9   Pierce Peak LLC,                                    No. CV-24-00001-PHX-MTL
10                    Plaintiff,                         ORDER AND AMENDED ORDER TO
                                                         SHOW CAUSE
11   v.
12   Crystale J. Reason, et al.,
13                    Defendants.
14
15            This matter having come before the Court for a hearing on January 9, 2024, Plaintiff
16   appeared through counsel, Defendant Trevor Reid appeared pro se, and Defendants Caitlyn
17   Reid and Crystale Reason failed to appear.
18            For the reasons stated on the record, the Court finds and orders as follows.
19            THE COURT FINDS that this action was improperly removed from the Encanto
20   Justice Court in Maricopa County, Arizona. This Court lacks subject matter jurisdiction
21   over it. The Notice of Removal (Doc. 1) failed to confer federal subject matter jurisdiction
22   because the underlying complaint does not present a federal question and the basis for
23   diversity jurisdiction does not exist. Defendants’ only argument in favor of subject matter
24   jurisdiction derives from their defensive legal theories, which does not confer federal court
25   jurisdiction. At all times, jurisdiction over this case remained with the Encanto Justice
26   Court.
27            THE COURT FURTHER FINDS that the Notice of Removal (Doc. 1) was filed
28   in bad faith and for the purpose of delay, harassment, and inappropriately expanding the
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 1   legal proceedings. There was no objectively reasonable basis for removal, nor was there a
 2   colorable argument supporting the existence of federal subject matter jurisdiction.
 3           Accordingly,
 4           IT IS ORDERED that Plaintiff’s Emergency Motion to Remand to State Court
 5   (Doc. 6) is GRANTED. The Clerk of Court must REMAND this action to the Encanto
 6   Justice Court forthwith.
 7           IT IS FURTHER ORDERED that the Notice of Removal (Doc. 1) is STRICKEN
 8   from the docket.
 9           IT IS FURTHER ORDERED that, if any of the Defendants in this action file
10   another notice of removal in the underlying action, Encanto Justice Court, Case No. CC-
11   2023-190801, in the United States District Court for the District of Arizona, any future
12   action shall be assigned to the undersigned United States District Judge, Michael T.
13   Liburdi.
14           IT IS FURTHER ORDERED that Defendant Trevor Reid’s Application for Leave
15   to Proceed In Forma Pauperis (Doc. 2) is DENIED due to material errors present in the
16   document.
17           IT IS FURTHER ORDERED that Defendant Trevor Reid’s Motion for
18   Reconsideration (Doc. 13) is DENIED for failure to follow the standards established in
19   LRCiv 7.2(g).
20           IT IS FURTHER ORDERED that the non-appearing Defendants, Crystale J.
21   Reason and Caitlyn A. Reid shall show cause in writing, no later than January 24, 2024,
22   why they should not be sanctioned for failing to appear at the January 9, 2024 hearing after
23   being ordered to do so. (Doc. 8.)*
24           IT IS FURTHER ORDERED that Defendant Trevor Reid must email a copy of
25   this Order to the other Defendants, Crystale J. Reason and Caitlyn A. Reid, with a copy to
26   Plaintiff’s counsel, within 24 hours of receiving it. Defendant Trevor Reid shall file a notice
27
     *
       The Court’s prior Order to Show Cause (Doc. 16) has been amended to reflect the correct
28   hearing date. In addition, the Court added a docket reference to its January 3, 2024 Order
     to Show Cause directing all Defendants to appear in-person at the January 9, 2024 hearing.

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 1   of compliance with this Court immediately after sending the email, providing a copy of the
 2   email as an exhibit to the notice of compliance.
 3          IT IS FURTHER ORDERED that Plaintiff is awarded $1,000 in attorneys’ fees
 4   pursuant to 28 U.S.C § 1447(c). This award shall be against all Defendants, jointly and
 5   severally. The Clerk of Court must enter a judgment in favor of Plaintiff and against
 6   Defendants consistent with this Order awarding attorneys’ fees.
 7          IT IS FURTHER ORDERED that this Order is effective immediately, such that
 8   any pending actions, orders, or writs in the Maricopa County Justice Court may proceed
 9   now, as if the Notice of Removal had never been filed.
10          IT IS FURTHER ORDERED that the Court will refer Defendant Trevor Reid to
11   the State Bar of Arizona because there is reason to believe that he, a non-lawyer, is engaged
12   in the unauthorized practice of law, to wit, he has provided and/or is providing legal advice
13   and direction to the other Defendants in connection with the underlying state-court action,
14   the bankruptcy proceedings, and in this improperly removed case.
15          IT IS FINALLY ORDERED that the Clerk of Court must close this case; however,
16   the Court will retain jurisdiction to adjudicate the pending Order to Show Cause.
17          Dated this 10th day of January 2024.
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